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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-2174

   BARRY ALAN SULLIVAN, and
   JENNIFER DIESMAN SULLIVAN,

          Plaintiffs,

   v.

   EBNER REAL ESTATE, LLC d/b/a SIGNATURE PROPERTIES
   EBNER & ASSOCIATES a/k/a EBNER & ASSOCIATES SIGNATURE PROPERTIES, a
   Colorado Limited Liability Company, and
   JESSE EBNER, individually,

          Defendants.


           PLAINTIFFS’ PROPOSED RESPONSE TO ORDER TO SHOW CAUSE




          Plaintiffs Barry Alan Sullivan and Jennifer Diesman Sullivan submit this

   Response to the Court’s Order to Show Cause.

          The Court’s July 27, 2020 Order to Show Cause states, among other things, that

   “Plaintiffs' Complaint alleges that the Court has jurisdiction pursuant to 28 U.S.C. § 1332

   based on the diversity of the parties. Defendant Ebner Real Estate LLC, is identified as

   a limited liability company. The Court must consider the citizenship of all members of

   the LLC in determining whether diversity jurisdiction exists. . . . As filed, Plaintiffs'

   Complaint is deficient in that, apart from an unsubstantiated bald assertion to that effect,

   it fails to establish the citizenship of every member of Defendant Ebner Real Estate

   LLC. Accordingly, Plaintiffs are ORDERED TO SHOW CAUSE, by July 29, 2020, as to

   why the Court should not on its own motion dismiss this action based on Plaintiffs'
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   failure to allege facts sufficient to show that the Court has diversity jurisdiction over this

   matter.”

          Because publicly available information about membership of limited liability

   companies is limited, Plaintiffs’ counsel conferred with counsel for Defendants about the

   membership of Ebner Real Estate, LLC. Counsel for Defendants has confirmed that the

   only member of Ebner Real Estate, LLC is Defendant Jesse Ebner, and that Ms. Ebner

   is a resident of Colorado. In her Answer to the Complaint, Ebner admits that she lives

   at 326 Elk Avenue, Suite D, Crested Butte, CO 81224.

          Plaintiffs have filed an Amended Complaint that alleges these additional

   jurisdictional facts.

   DATED: the 2d day of September 2020.




                                                      s/ Neal Cohen

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                                                      and Jennifer Diesman Sullivan
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